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                                                                               FILED
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS                      DEC 2 8 2021
                                     SHERMAN DIVISION
                                                                           CLERK, U.S. DISTRICT COURT
                                                                            EASTE N DISTRICT OF TEXAS
     UNITED STATES OF AMERICA §
                                             §
     v. § No. 4:21 CR48
                 § Judge Mazzant
     SHANLIN JIN §

                                       FACTUAL BASIS

           The defendant, Shanlin Jin, stipulates and agrees that the following facts are true

    and correct:

           1. The defendant, Shanlin Jin (Jin), who is changing his plea to guilty,

   admits that he is the individual charged in the Indictment.

          2. As charged in Count Three of the Indictment, on or about January 12, 2021,

   in the Eastern District of Texas, Jin did knowingly possess material, namely, an

   Alienware desktop computer bearing service tag number 99FF4Z2, that contained one or

   more images of child pornography, which had been shipped and transported using any

   means and facility of interstate and foreign commerce, that had been shipped and

   transported in and affecting interstate and foreign commerce, by any means, including by

   computer, and which was produced using materials which had been mailed, shipped, or

   transported in or affecting interstate and foreign commerce, by any means, including by

   computer.


          3. Specifically, Jin knowingly possessed files of child pornography using the

   Internet, a peer-to-peer file sharing application, and his Alienware desktop computer.

   Included among the files Jin possessed were the following:
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                   FILE NAME                                 DESCRIPTION
                           (466). avi           This 2-minute, 6-second video depicts a
                                                  prepubescent female blindfolded and
                                                lying nude on her back while a dog licks
                                               her vagina. An adult male then places his
                                                penis in the female s mouth and digitally
                                                         penetrates her vagina.
                 B305066.avi                    This 3-minute, 40-second video depicts
                                               an adult female performing oral sex on a
                                               prepubescent toddle female and inse ts a
                                                 forei n object into the child’s vagina.
                                                This 6-minute, 41-second video depicts
                                                    an adult male vaginally and anally
                                               penetrating a prepubescent toddler female
                                                with his penis. The child also performs
                                                        oral sex on the adult male.
                  ||||||hff2.wmv                   This 48-minute, 58-second video is a
                                                     compilation depicting multiple
                                               prepubescent females being vaginally and
                                                anally penetrated by the penises of adult
                                                                 males.


          4. Jin knew that the images and videos he possessed and distributed depicted

   children engaged in sexually explicit conduct and did constitute child pornography. Jin

   also knew that he possessed and distributed more than 600 images and videos of child

   po ography, including files depicting prepubescent minors, and depictions of sadistic or

   masochistic abuse or other depictions of violence, or the sexual abuse or exploitation of

   an infant or toddler.

          5. Jin admits that he committed the offense described in the Indictment at a

   residence in Allen, Collin County, Texas within the Eastern District of Texas.

          6. Jin used computer equipment, including the following devices to possess

   and distribute the images and videos:

                 a. Alienware desktop computer, bearing service tag # 99FF4Z2;


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                  b. Samsung 1TB solid state drive, bearing serial number
                         S599NE0M8284712;
                  c. Toshiba 1024GB NVMe storage device, bearing serial number
                         79PA21RXK6CN; and
                  d. Western Digital 6TB hard drive, bearing serial number V8HJK6VR;
                        and
                  e. Samsung 250GB solid state drive, bea ing serial number
                         S3YHNGAJC09887T.

           7. Jin recognizes that his Alienware desktop computer was not manufactured

    in the State of Texas and was therefore itself transported in interstate and foreign

   commerce.


               SIGNATURE AND ACKNOWLEDGMENT BY DEFENDANT
                               SHANLIN JIN

           I have read this Factual Basis and have discussed it with my attorney. I fully
   understand the contents of this Factual Basis and agree without reservation that it
   accurately describes my acts.

   Dated:
                                                SHANLIN JIN
                                                Defendant


   SIGNATURE AND ACKNOWLEDGMENT BY ATTORNEY FOR DEFENDANT
          I have read this Factual Basis and the Indictment and have reviewed them with my
   client. Based upon my discussions with my client, I am satisfied that my client fully
   understands the Factual Basis.



   Dated: 17/                                                          /U
                                               SHAOMING CHENG
                                              Attorney for Defendant



   Dated: | / 1
                                              PAUL SAPUTO
                                              Attorney for Defendant


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